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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

    In re:
                                                                   Chapter 11

    GRACIOUS HOME LLC, et al., 1                                   Case No.: 16-13500 (MKV)

                                                                   (Jointly Administered)
                                                       Debtors.


                 MOTION FOR ORDER AUTHORIZING THE COMMITTEE TO
               (A) CONDUCT A 2004 EXAMINATION OF DOROTHY MATTISON;
                     AND (B) SEEK RELATED DOCUMENT PRODUCTION

             The Official Committee of Unsecured Creditors (the “Committee”) 2 in the cases of the

above captioned debtors and debtors-in-possession (the “Debtors”) files this motion (the

“Motion”) seeking an order, substantially in the form attached hereto as Exhibit A (the “Order”),

authorizing the Committee to conduct an examination of Dorothy Mattison (the “Witness”)

pursuant to rule 2004 of the Federal Rules of Bankruptcy Procedure (“Rule 2004”), and requests

that this Court enter the Order directing the Witness to appear for examination and to produce


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         The Debtors in these chapter 11 cases and the last four digits of their tax identification numbers are:
Gracious Home LLC (6822); Gracious Home Holdings LLC (3251); Gracious Home Payroll LLC (3681); GH East
Side LLC (3251); GH West Side LLC (3251); GH Chelsea LLC (3251) and Gracious (IP) LLC (3251). The latter
four entities are disregarded for tax purposes and do not have their own tax identification numbers, but use that of
Gracious Home Holdings LLC. The address of the Debtors’ corporate headquarters is 1210 Third Avenue, New
York, New York 10021.
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        The Committee consists of five members: (i) Capstone Printing Corp.; (ii) Lincoln Square Commercial
Holding Co. LLC; (iii) Scandia Down LLC; (iv) The Townsend House Corp.; and (v) True Value Co.
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documents related to Debtors’ business. In support of this Motion, the Committee respectfully

represents as follows:

                                         BACKGROUND

               1.        On December 14, 2016 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of New York (the “Court”). The

Debtors continue to operate their businesses and manage their properties as debtors-in-

possession. No trustee or examiner has been appointed in these cases. Additional factual

background information regarding the Debtors, including their business operations, corporate

structure and the events leading up the these chapter 11 cases, is set forth in detail in the Affidavit

of Robert Morrison Pursuant to Bankruptcy Rule 1007-2 of the Local Bankruptcy Rules for the

Southern District of New York (Docket No. 3) (the “First Day Affidavit”).

               2.        On January 6, 2017, the Office of the United States Trustee for the

Southern District of New York appointed the Committee. On the same day, the Committee

selected, subject to Court approval, Seward & Kissel LLP to serve as its counsel and Wyse

Advisors LLC to serve as its financial advisor.

               3.        On February 10, 2017, this Court entered the Final Order (I) Authorizing

the Debtors to Obtain Postpetition Financing and Grant Security Interests and Superpriority

Administrative Expense Status; (II) Modifying the Automatic Stay; (III) Authorizing the Debtors

to Enter into Agreements with Gracious Home Lending LLC; and (IV) Granting Related Relief

(Docket No. 201) (the “DIP Order”). Through the DIP Order, the Debtors were authorized to

enter into a senior secured, super-priority debtor-in-possession loan facility in the principal

amount of $3 million (the “DIP Facility”) with Gracious Home Lending LLC.




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                 4.    On May 24, 2017, the Debtors filed a motion pursuant to which the

Debtors sought the authority to sell substantially all of their assets (the “Assets”) pursuant to

section 363(b) of the Bankruptcy Code (the “363 Sale”). On June 29, 2017, the Bankruptcy

Court entered the Order (I) Authorizing the Sale of the Assets Free and Clear of all Liens,

Claims, Encumbrances, and Interests; (II) Approving the Assumption and Assignment of

Executory Contracts and Leases and (III) Granting Related Relief (Docket No. 350), approving

the 363 Sale of the Assets to NEWGH, LLC.

                 5.    From and after the 363 Sale, the Committee has been investigating causes

of action available for the benefit of the estates, including, but not limited to, actions against the

Debtors’ former officers and directors, including the Witness. Upon information and belief, the

Witness served on the Debtors’ Board of Directors and as the Debtors’ Chief Executive Officer

from approximately June 15, 2015 until her resignation in or about December 2016. It is clear

that the Witness has extensive knowledge about matters relevant to the Committee’s

investigation.

                                         JURISDICTION

                 6.    The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and

1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2). The predicate for the relief requested in this

Motion is Rule 2004.

                                     RELIEF REQUESTED

                 7.    The Committee respectfully requests entry of the Order under Rule 2004

permitting it to conduct an examination of the Witness and seek related document production in

connection with the Debtors’ business and, more specifically, the actions taken by the Witness




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with respect to the Debtors’ prepetition business. The categories of information to be requested

by the contemplated Rule 2004 subpoena(s) is attached to this Motion as Exhibit B.

                             BASIS FOR RELIEF REQUESTED

               8.     Rule 2004(a) provides that “[o]n motion of any party in interest, the court

may order the examination of any entity.” Rule 2004(b) provides further that the scope of such

examination may relate to “the acts, conduct, or property or to the liabilities and financial

condition of the debtor, or to any matter which may affect the administration of the debtor’s

estate, or to the debtor’s right to a discharge.” In addition, Rule 2004(c) provides that “the

attendance of an entity for examination and for the production of documents . . . may be

compelled as provided in Rule 9016 for the attendance of a witness at a hearing or trial.”

               9.     “The purpose of a Rule 2004 examination is to assist a party in interest in

determining the nature and extent of the bankruptcy estate, revealing assets, examining

transactions and assessing whether wrongdoing has occurred. In re Almatis, No. 10-12308, 2010

WL 4877868, at *3 (Bankr. S.D.N.Y. Nov. 24, 2010); In re Recoton Corp., 307 B.R. 751, 755

(Bankr. S.D.N.Y. 2004).

               10.    Discovery under Rule 2004 can be used as a “pre-litigation discovery

device.” In re Wilson, No. 07-11862, 2009 WL 304672, at *5 (Bankr. E.D. La. Feb. 6, 2009).

“No contested matter or adversary proceeding need be instituted as a prerequisite to conducting

an examination under this rule.” In re Almatis, 2010 WL 4877868, at *3. Consequently, a Rule

2004 motion need not be tied to specific factual allegations at issue between parties. In re

Symington, 209 B.R. 678, 683 (Bankr. D. Md. 1997).

               11.    Section 1103 of the Bankruptcy Code sets forth the duties of a creditors’

committee including to “investigate the acts, conduct, assets, liabilities, and financial condition




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of the debtor . . . .” 11 U.S.C. § 1103(c). During the pendency of the case, the Committee has

investigated various prepetition activities of the Debtors.

               12.     The requested relief is well within the scope of Rule 2004 because it

would permit the Committee to “examin[e] transactions and assess[] whether wrongdoing has

occurred.” In re Almatis, 2010 WL 4877868, at *3. Specifically, the examination would permit

the Committee to continue to fulfill its statutory duty to investigate in an attempt to determine

the merits of causes of action that might be prosecuted by the Committee.

                                             NOTICE

               13.     Pursuant to this Court’s individual rules, “[r]equests for 2004 orders may

be submitted ex parte but the Court in its discretion may require notice and a hearing.” The

Committee has, nevertheless, provided courtesy copies of the Motion to (i) counsel to the

Debtor; (ii) the United States Trustee and (iii) all parties who have filed a notice of appearance

and request for service of documents, as well as all other parties in interest (including the

Witness).

               14.     No prior motion for the relief sought herein has been made to this or any

other court.

               WHEREFORE, the Committee respectfully requests that this Court enter the

Order granting the relief requested herein, and granting it such other relief as this Court deems

just and proper.




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DATED: March 15, 2018                      SEWARD & KISSEL LLP
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